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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


In re
                                                                               Chapter 11
NEW CENTURY TRS HOLDINGS,                                                      Case No. 07-10416-KJC, et seq.
INC., et al.,
                                                                               Objections due by: April 29, 2008, 4:00 p.m.
                                                                               Hearing Date: May 7, 2008 at 10:00 am
                                     Debtors.


 NOTICE OF MOTION OF US BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR
      ASSET-BACKED PASS-THROUGH CERTIFICATES, SERIES 2006-NC1
  FOR RELIEF FROM STAY UNDER SECTION 362 OF THE BANKRUPTCY CODE

TO:         Parties listed on the Certificate of Service

        US Bank National Association, as Trustee for Asset-Backed Pass-Through Certificates,
Series 2006-NC1 has filed a Motion for Relief from Stay which seeks the following relief: Relief
from the automatic stay to exercise its non-bankruptcy rights with respect to a parcel of real
property in which the above-captioned debtor may hold an interest, located at 27 Woods Way
Woodbury, CT 06798.
            HEARING ON THE MOTION WILL BE HELD ON MAY 7, 2008 AT 10:00 AM

        You are required to file a response (and the supporting documentation required by Local
Rule 4001-1(d)) to the attached motion at lease five business days before the above hearing date.
At the same time, you must also serve a copy of the response upon movant’s attorneys:

                                                 Adam Hiller, Esquire
                                                 Maria Aprile Sawczuk, Esquire
                                                 Draper & Goldberg, PLLC
                                                 1500 North French Street, 2nd Floor
                                                 Wilmington, Delaware 19801
                                                 (302) 339-8776 telephone

       The hearing date specified above may be a preliminary hearing or may be consolidated
with the final hearing, as determined by the Court.

        The attorneys for the parties shall confer with respect to the issues raised by the motion in
advance for the purpose of determining whether a consent judgment may be entered and/or for
the purpose of stipulating to relevant facts such as value of the property, and the extent and
validity of any security instrument.


Movant: US Bank National Association, as Trustee for Asset-Backed Pass-Through Certificates, Series 2006-NC1
D&G Reference: 214154

Property Address: 27 Woods Way
Woodbury, CT 06798
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    IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE,
THE RELIEF REQUESTING IN THE MOTION MAY BE GRANTED BY THE
COURT WITHOUT FURTHER NOTICE OR HEARING.
Dated: April 18, 2008               Respectfully submitted,
       Wilmington, Delaware
                                    DRAPER & GOLDBERG, PLLC


                                     /s/ Adam Hiller
                                    Adam Hiller (DE No. 4105)
                                    Maria Aprile Sawczuk (DE No. 3320)
                                    1500 North French Street, 2nd Floor
                                    Wilmington, Delaware 19801
                                    (302) 339-8776 telephone
                                    (302) 213-0043 facsimile

                                    Attorneys for Movant




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